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                  EXHIBIT 20
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           DEPARTMENT      OF HEALTH    & HUMAN     SERVICES                          office Of Inspector General



                                                                                      Memorandum
Date
           m 24 ME

                          F
From
          June Gibbs Brown
          Inspector Gener
Subject
          Review of Pharmacy Acquisition Costs for Drugs Reimbursed Under the Medicaid
          Prescription Drug Program of the Nebraska Department of Social Services
To
          (A-06-95 -OO069)

          Bruce C. Vladeck
          Administrator
          Health Care Financing Administration


          Attached for your information and use is our final report entitled, “Review of Pharmacy
          Acquisition Costs for Drugs Reimbursed Under the Medicaid Prescription Drug
          Program of the Nebraska Department of Social Services.” This review was conducted
          as part of a nationwide audit of pharmacy drug acquisition costs at the Health Care
          Financing Administration’s request. Most States reimburse pharmacies for Medicaid
          prescriptions using a formula which generally discounts the average wholesale price
          (AWP) by 10.5 percent. The objective of our review was focused on developing an
          estimate of the discount below AWP at which pharmacies purchase brand name and
          generic drugs.

          The Nebraska Department of Social Services (State Agency) was 1 of 11 States
          randomly selected as part of the nationwide review. Nebraska reported drug
          expenditures of $60.3 million in Calendar Year 1994.

          Through statistical sampling, we obtained pricing information from 43 Nebraska
          pharmacies. We obtained 2,742 invoice prices for brand name drugs, and 1,114 invoice
          prices for generic drugs. The overall estimate of the extent that AWP exceeded
          pharmacy purchase invoice prices was 18.7 percent for brand name drugs and
          44.9 percent for generic drugs. The national estimates are 18.3 percent and
          42.5 percent, respectively. The estimates combine the results for four categories of
          pharmacies including rural-chain, rural-independent, urban-chain, and urban-
          independent pharmacies. The estimates exclude the results obtained from
          non-traditional pharmacies (nursing home pharmacies, hospital pharmacies, home IV,
          etc.) because such pharmacies purchase drugs at substantially greater discounts than
          retail pharmacies, and including them would have inappropriately inflated our
          percentages.
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Page 2- Bruce C. Vladeck

We are recommending that the State Agency consider the results of this review as a
factor in any fiture changes to pharmacy reimbursement for Medicaid drugs.

In response to our draft report, the Director of the State Agency stated that our review
was the first information of its type that the State Agency has had access to in 10 years.
The Director also stated that the itiormation would be usefhl to the State Agency in
setting adequate pharmacy reimbursement rates in the future. The complete text of the
Director’s comments are included in Appendix 4.

We welcome any comments you have on this Nebraska State report. If you have any
questions, call me or have your staff contact George M. Reeb, Assistant Inspector
General for Health Care Financing Audits, at (410) 786-7104.

To facilitate identification, please refer to Common Identification Number
A-06-95-00069.

Attachment
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      Department of Health and Human Services

                 OFFICE OF
            INSPECTOR GENERAL




      REVIEW OF PHARMACY ACQUISITION  COST
         FOR DRUGS REIMBURSED UNDER THE
       MEDICAID PRESCRIPTION DRUG PROGRAM
                      OF THE
    NEBRASKA DEPARTMENT OF SOCIAL SERVICES




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                                                   JUNE   GIBBS BROWN
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                                           SUMMARY

A     t the request of the Health Care Financing Administration (HCFA), the Office of
      Inspector General (OIG) conducted a nationwide review of pharmacy acquisition costs
for drugs reimbursed under the Medicaid prescription drug program. Since most States
reimburse pharmacies for Medicaid prescriptions using a formula which discounts the average
wholesale price (A*),      the objective of our review was to develop an estimate of the discount
below AWP at which pharmacies purchase brand name and generic drugs.

To accomplish our objective, we selected a random sample of 11 States from a universe of 48
States and the District of Columbia. Arizona was excluded from the universe of States
because the Medicaid drug program is a demonstration project using prepaid cavitation
fimncing and Tennessee was excluded because of a waiver received to implement a statewide
managed care program for Medicaid. Nebraska was one of the sample States selected, as well
as California, Delaware, District of Columbia, Florida, Maryland, Missouri, Montam,
New Jersey, North Carolina, and Virginia.

Additionally, we selected a sample of Medicaid pharmacy providers from each State and
obtained invoices of their drug purchases. The pharmacies were selected from each of five
categories--rural-chain, rural-independent, urban-chain, urban-independent, and non-traditional
pharmacies (nursing home pharmacies, hospital pharmacies, etc.). We included the non-
traditional category so as to be able to exclude those pharmacies from our overall estimates. We
believed such pharmacies purchase drugs at substantially greater discounts than retail
pharmacies, and including them would have inflated our percentages.

We compared each invoice drug price to Awl? for that drug and calculated the percentage, if any,
by which the invoice price was discounted below AWP. We then projected those differences to
the universe of pharmacies in each category for each State and calculated an overall estimate for
each State. Additionally, we projected the results from each State to estimate the nationwide
difference between AWP and invoice price for each category.

In NebraskA we obtained pricing information horn 43 pharmacies. Specifically, we obtained
2,742 invoice prices for brand name drugs, and 1,114 invoice prices for generic drugs. For
Nebras~ the overall estimate of the extent that invoice prices were discounted below AWP was
18.7 percent for brand name drugs and 44.9 percent for generic drugs. The national estimates are
18.3 percent and 42.5 percent, respectively. The estimates combine the results for four
categories of pharmacies including rural-chain, rural-independent urban-chain, and
urban-independent and exclude the results obtained ilom non-traditional pharmacies.




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We are recommending that the Nebraska Department of Social Services (State Agency) consider
the results of this review as a factor in any fbture changes to pharmacy reimbursement for
Medicaid drugs. We will share the information with HCFA from all 11 States in a consolidation
report for their use in evaluating the overall Medicaid drug program.

The Director of the State Agency responded to our draft report in a letter dated,
October 16, 1996. The Director stated that our review was the first information of its type that
the State Agency has had access to in 10 years. The Director also stated that the information
would be usefid to the State Agency in setting adequate pharmacy reimbursement rates in the
fi.dure. The complete text of the Director’s comments are included in Appendix 4.




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                                       INTRODUCTION
At the request of HCFA, OIG, OffIce of Audit Services (OAS) conducted a review of pharmacy
acquisition costs for drugs reimbursed under the Medicaid prescription drug program of the
Nebraska Department of Social Services (State Agency). The objective of our review was to
develop an estimate of the difference between the actual acquisition costs of drugs and AWP.
This review was conducted as a part of a nationwide review of pharmacy acquisition costs.
Nebraska was 1 of 11 States randomly selected as part of the nationwide review.

BACKGROUND

Medicaid regulations provide for the reimbursement of drugs using two methods. If a drug is a
multiple source (generic) drug, then reimbursement is based on the lower of the pharmacist’s
usual and customary charge to the general public or an upper limit amount plus a dispensing fee.
The Federal upper limit amounts are established by HCFA. If a drug is a single source (brand
name) drug, or a generic drug for which an upper limit amount has not been established, then the
reimbursement is the lower of the pharmacist’s usual and customary charge to the general public
or the estimated acquisition cost (EAC) plus a reasonable dispensing fee. The State agencies are
responsible for determining the EAC and the dispensing fee.

The EAC for most States is calculated by using AWP for a drug less some percentage. The
AWP is the price assigned to the drug by its manufacturer and is listed in either the Red Book,
Medispan or the Blue Book--publications universally used in the pharmaceutical industry. Prior
to 1984, most States used 100 percent of AWP for reimbursement of acquisition costs. However,
OIG issued a report in 1984 which stated that, on average, pharmacies purchased drugs for
15.9 percent below AWP. In 1989, OIG issued a follow-up report which concluded that
pharmacies were purchasing drugs at discounts of 15.5 percent below AWP. Both the 1984 and
1989 reports combined brand name and generic drugs in calculating the percentage discounts and
included a comparison of 3,469 and 4,723 purchases, respectively.

In 1989, HCFA issued a revision to the State Medicaid Manual which pointed out that a
preponderance of evidence demonstrated that AWP overstated prices that pharmacies actually
paid for drugs by as much as 10 to 20 percent. The Manual tier      provided thaL absent valid
documentation to the contrary, it would not be acceptable for a State to make reimbursements
using AWP without a significant discount.

In November 1990, the Omnibus Budget Reconciliation Act of 1990 was passed which placed a
4-year moratorium on changes to States’ reimbursement policies. The moratorium expired on
December 31, 1994 and HCFA requested that we, once ag@ determine the difference between
AWP and actual pharmacy acquisition cost.


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The State Agency reported drug expenditures of $60.3 million in Calendar Year (CY) 1994.

SCOPE

Our review was performed in accordance with generally accepted government auditing standards.
The objective of our review was to develop an estimate of the difference between AWP and the ‘
actual invoice prices of both brand name and generic prescription drugs to Medicaid pharmacy
providers. Our objective did not require that we identifi or review any internal control systems.

Our review was limited to ingredient acquisition costs and did not address other areas such as:
the effect of Medicaid business as a contribution to other store sales; the cost to provide
professional services other than dispensing a prescription such as therapeutic interventions,
patient education, and physician consultation; and the cost of dispensing which includes costs for
computers, multi-part labels, containers, technical staff, transaction fees, Medicaid specific
administrative costs, and general overhead. We also did not take into consideration the effect of
Federal upper limit amounts on generic drug reimbursements or usual and customary charge
limitations. We plan to evaluate the effect of the Federal upper limit amounts on generic drug
reimbursements in a subsequent review.

We obtained a listing of all Medicaid pharmacy providers from the State Agency. The State
Agency was responsible for classi~ing each pharmacy as chain, independent, or non-traditional.
For purposes of this review, a chain was defined as four or more pharmacies with common
ownership. We determined whether each pharmacy was rural or urban by comparing the county
location for each pharmacy to a December 31, 1992 listing of metropolitan areas and their
components. We selected a stratified random sample of 60 pharmacies with 12 pharmacies
selected from each of 5 strata--rural-chain, rural-independen~ urban-chain, urban-independent,
and non-traditional (nursing home pharmacies, hospital pharmacies, home IV, etc.). We
included the non-traditional category so as to be able to exclude those pharmacies from our
estimates. We believed that such pharmacies are able to purchase drugs at substantially greater
discounts than a retail pharmacy and would inflate our estimate.

We requested, from each pharmacy selected, the largest invoice from each different source of
supply for a specified month in CY 1994. We identified the sources of supply as wholesalers,
chain warehouse distribution centers, generic distributors, and direct manufacturer purchases.
Each pharmacy was initially assigned a month born January through September in order to
provide a cross-section of this 9-month time period.

We reviewed every line item on the invoices supplied by the sample pharmacies to ensure that
the invoices contained the information necessary for our review. We eliminated over-the-counter
items. Some invoices did not include National Drug Codes (NDC), which were needed to obtain


  Review of Pharmacy. Acquisition
                         .        Costs for Drugs Reimbursed Under the Medicaid Prescription Drug Program
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AWP for the drug. We attempted to obtain NDCS in those instances. We used the 1994 Red -
Book, a nationally recognized reference for drug product and pricing itiormation, to obtain
NDCS or identifi over-the-counter items. One prominent wholesaler, whose invoices contained
that wholesaler’s item number rather than NDCS, provided us with a listing that converted their
item number to an NDC. If we were unable to identifi the NDC for a drug, we eliminated the
drug. This was a common occurrence for generic drugs where there was no indication on the
invoice as to the manufacturer of the drug.

We obtained a listing from HCFA that indicated whether a drug is a brand name or generic drug.
We used that listing to classi~ each drug on the invoices as brand or generic. If a drug was not
on the HCFA listing, we used the Red Book to determine whether the drug was brand or generic.
Additionally, we obtained drug expenditure ifiormation from HCFA-64 Reports.

The State of Missouri provided us with a pricing file for the purpose of obtaining the AWP for
each drug. We compared the invoice drug price to AWP for each drug and calculated the
percentage, if any, by which the invoice price was discounted below AWP. If a drug from an
invoice was not on the pricing file we eliminated that drug.

An initial meeting was held in Richmond, Virginia on August 30-31, 1994, with Medicaid
pharmacy representatives from the sample States. At this meeting, we presented a methodology
for performing the review and the methodology was refined with input from the State
representatives. At a follow-up meeting held in Richmond, VirginiA on September 27-28,
1995, we presented the results of our review with the sample States.

We used OAS statistical computer software to calculate all estimates as well as to generate all
random numbers. We did not independently verifi any information obtained from third party
sources. Our review was conducted by our Little Rock, Arkansas OAS field office with
assistance from our OAS field offices in Baton Rouge, Louisian~ and Austin, Texas from
September 1994 to September 1995.




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                                                FINDINGSAND RECOMMENDATIONS
BRAND NAME DRUGS

We estimate that invoice prices for brand name drugs were discounted 18.7 percent below
AWP. The estimate combined all pharmacy categories except non-traditional pharmacies and
was based on the comparison to AWP of 2,742 invoice prices received from 43 pharmacies. The
standard deviation for this estimate was 0.44 percent (see Appendix 2).

The estimates of the discount below AWP for brand name drugs are summarized in the
following chart:


                                                                            Estimated                             Difference


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The following chart shows the number of pharmacies sampled and the number of prices
reviewed by individual category for brand name drugs.
                                                                            Number       of                                                                  Prices            from
                                                         Samplo                  Phzarmacia6                                                    Sample                     Pharmacies


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                  Urban-Chain


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 Urban            -lndeap~ndent


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           Non-Traditional



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GENERIC DRUGS

We estimate that invoice prices for generic drugs were discounted 44.9 percent below AWP.
Once again, the estimate combined all pharmacy categories except non-traditional pharmacies.
The estimate was based on the comparison to AWP of 1,114 invoice prices received from 43
pharmacies. The standard deviation for this estimate was 1.76 percent (see Appendix 2).

The estimates of the discount below AWP for generic drugs are summarized by individual
categories in the following table:

                                                                         Estimated            Difference



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                                                                 "`"""63":i
               60


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               40


               30


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               10


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                                         Chml”              independent              Chmln            Indop_nd_nt                 (Nc.”   T)      (Exeludl”g




                                                              .
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The following table shows the number of pharmacies sampled and the number of prices
reviewed by individual category for the generic drugs.


                                                                         Number       of                                         Prices        from
                                                            Sample            Pharmacies                            Sample                 Pharmacies


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                                                                                        ...!?.




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  Rural-             lnUep9ndent                      ..’


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                    Urban-Chain

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                 CONCLUSIONS AND RECOMMENDATION
Based on our review, we have determined that there is a significant difference between AWP and
pharmacy acquisition costs. The difference between AWP and pharmacy acquisition costs is
significantly greater for generic drugs than for brand name drugs. In general, State
representatives believed that the review supported current State practices to establish pharmacy
reimbursement for ingredient cost at levels below AWP.

We recognize that acquisition cost is just one factor in pharmacy reimbursement policy and that
any change to that policy should also consider the other factors discussed in the Scope section of
our report. Additionally, the effect of Federal upper limit amounts on generic drug
reimbursements or usual and customary charge limitations should be taken into consideration.
However, a change in any of the factors affecting pharmacy reimbursement could have a
significant impact on expenditures because of the size of the program ($60.3 million) in
Nebraska. We believe that the difference between AWP and pharmacy acquisition costs as
determined by our review is significant enough to warrant consideration by the State in any
evaluation of the drug program. Therefore, we recommend that the State Agency consider the
results of this review in determining any fiture changes to pharmacy reimbursement for
Medicaid drugs.

STATE AGENCY COM’’ENTS

The Director of the State Agency responded to our drafl report in a letter dated,
October 16, 1996. The Director stated that our review was the fust information of its type that
the State Agency has had access to in 10 years. The Director also stated that the information
would be usefid to the State Agency in setting adequate pharmacy reimbursement rates in the
fiture. The complete text of the Director’s comments are included in Appendix 4.




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                                                                             APPENDLY1
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                              SAMPLE DESCRIPTION

Sample Objectives:

       Develop an estimate of the extent of the discount below Average Wholesale Prices
       (AWP) for actual invoice prices to Medicaid pharmacies in Nebraska for brand name
       drugs and for generic drugs.

Population:

       The sampling population was pharmacy providers participating in the Medicaid
       prescription drug program of the State Agency.

Sampling Frame:

       The sampling fiz-unewas a listing of all pharmacy providers participating in the Medicaid
       prescription drug program.

Sample Design:

       A sample of 12 pharmacies was randomly selected from each of 5 strata. The five strata
       of pharmacies were rural-chain, rural-independent, urban-chain, urban-independent, and
       non-traditional (nursing home pharmacies, hospital pharmacies, home IV, etc.). Each
       pharmacy was assigned a month from 1994 for which to provide invoices. All
       pharmacies were initially assigned a month from January through September in a method
       designed to provide a cross-section of the 9-month period. The largest invoice from each
       of four different sources of supply was requested. The sources of supply were identified
       as wholesalers, chain warehouse distribution centers, generic distributors, and direct
       manufacturer purchases. All invoice prices were compared to AWP.
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 Sample Size:

       Twelve pharmacies were selected from each stratum for a total of 60 pharmacies.

~Source of Random Numbers:

       OAS statistical sampling software was used to generate the random numbers.

 Characteristics to be Measured:

       From our review of the pharmacy invoices, we calculated the percentage of the discount
       below AWP of actual invoice prices for all drugs on the invoices submitted.

 Treatment of Missing Sample Items:

       No spare was substituted for a pharmacy that did not provide information. If a pharmacy
       did not send an invoice for a particular type of supplier, we assumed that the pharmacy
       did not purchase drugs from that type of supplier during the month assigned to the
       pharmacy.

 Estimation Methodology:

       We used OAS Statistical Sofhvare to project the percentage difference between AWP and
       actual invoice prices for each stratum, as well as an overall percentage difference. The
       overall percentage difference excluded the non-traditional pharmacies. The projections
       were done separately for brand name drugs and generics.

 Other Evidence:

       We obtained AWP from First DataBank.
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                                                                            APPENDIX 2

                           NEBRASKA    SAMPLE      RESULTS
                     BRAND NAME AND GENERIC                 DRUGS




RURAL-CHAIN
                            uuI umMI
                                55    12     905     18.9            1.61     18.18   19.53


RURAL-INDEPENDENT              241    11     523     19.2           2.61      17.91   20.44


URBAN-CHAIN                    105     9     786     17.3           2.64      15.92   18.68


URBAN-INDEPENDENT               86    11     528     19.0           2.63      17.80   20.24


NON-TRADITIONAL                198     5     129     32.2       14.90         21.42   43.06


OVERALL (EXCL. NON-TRAD)       487    43   2,742     18.7           0.44      17.98   19.44




RURAL-CHAIN                     55    11    365      47.7           8.37      44.2(   51.X


RURAL-INDEPENDENT             241     11    286      47.3       10.67         42.0!   52.4:


URBAN-CHAIN                    105     9    221      34.4           5.97      31.2[   37.54


URBAN-INDEPENDENT               86    11    242      49.1       13.54         42.83   55.37


NON-TRADITIONAL               198      5     98      63.2       12.49         54.11   72.25


OVERALL (EXCL. NON-TRAD)      487     43   1,114     44.9           1.76      41.97   47.76
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                                                                        APPENDIX 3

                           NATIONWIDE         SAMPLE       RESULTS
                           BRAND NAME AND GENERIC              DRUGS




RURAL-CHAIN                    1,095     73        5,723       I 7.40   1.05   15.67   19.13


RURALJNDEPENDENT               1,499     78        3,043       16.39    1.07   14.63   18.15


URBAN-CHAIN                    8,194     73        7,198       18.45    0.52   17.60   19.31


URBAN-INDEPENDENT              6242      91        3,009       18.71    0.90   17.22   20.1s


NON-TRADITIONAL                2,026     66        1,762       27.52    2.28   23.76   31.2;


OVERALL (EXCL. NON-N          17,030    315       18,973       18.30    0.66   17.21   19.3$




RURAL-CHAIN                    1,095     73        2,963       47.51    1.63   44.82   50.2(


RURAL-INDEPENDENT              1,499     78        1,798       47.38    0.93   45.85   48.92


URBAN-CHAIN                    8,194     72        2,634       37.61    2.82   32.97   42.26


URBAN-INDEPENDENT              6J42      91        1,680       46.72    2.44   42.70   50.73


NON-TRADITIONAL                2,026     59        1J62        57.70    1.98   54.43   60.96


OVERALL (EXCL. NON-TRAO)      17,030    314        9,075       42.45    0.90   40.97   43.93
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                                                                                                 APPENDIX4


STATEOF NEBRASKA
DEI?ARTMENT OF ~               -C=
DOMlds.~
Lx&for


       October   16,    1966

                                                                                                    E.   ~a~r
       M. Ben Jackson,   Jr., Acting Director
       Operational and Program Reviews
       Health Care Financing Audit Division
       OffIce of inspector General
       Washington, D.C. 20201

       Dear Mr. Jackson:

       This letteris in response to your letterof September 27’, 1996, regarding the draft report on the
       result of your review of pharmacy acquisitioncosts for drugs reimbursed under the Medicaid
       PrescriptionDrug Program of the Nebraska Departmentof Social Services. I am appreciativeof
       the work that you and your staff have done in preparing this draft report and of receiving     an
       advance   copy    of the draft.

       i have asked my staff,includingour Pharmacy Consultant,to review the draft report. It appeam
       that your report is reflectiveof Nebraska pharmacy practiceand purchasing.

       Your study Is the firstinformationregardingthe differencein costs between AWP and pharmacy’s
       adt.rai acquisition costs that has been accessible to the state since our former pharmacy
       COI’ISUitant made an acquisitioncost (EAC) and dispensing fee survey in 1986. Therefore, the
       information that you have presented will be usefui to us as a reference plan in the future to
       assure that we set adequate pharmacy reimbursement rates which assure access for our
       recipients while maintaining a prudent policy in terms of setting acquisition costs and total
       reimbursement. This Department will, in the near future, be surveying pharmacies across the
       state to determine the}rnon-Medicaid average dispensing fee. When we combine the results of
       that survey with the benchmark informationthatyou have provided for us from your review, we
       will be able to make a well informed decisionon adequate and reasonable reimbursement rates
       for Nebraska pharmacy providers.

       Thank you again for your good work in surveyingthe pharmacies and in preparation of this draft
       report.

       if you have any questions, please corltact Gary J. Cheloha, R.P., Pharmacy Consultant at (402)
       471-9379. Mr. Cheloha has replaced Mr. Ward as the Department’sPharmaceuticalConsultant
       effectiveJune 26, 1996.

       Sincerely,


      $ll!t@K
         onafd S. Leuenberger, Director
       Nebraska Department of Sociai Services

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                                 P.O. SOX 95026. Lbwdn. Nebrdu 6s509S026 . PFIUW(402) 471-3121
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